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EXHIBIT 2
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WHITESTONE LEGAL GROUP

**Script Paralegal Must Read To Client**

THE DEBT RESOLUTION PROCESS

[BEGIN ON SLIDE 2]

MY NAME IS AND | AM A REPRESENTATIVE OF WHITESTONE LEGAL GROUP,
(WHITESTONE). MY JOB TODAY IS TO TELL YOU MORE ABOUT WHITESTONE’S DEBT RESOLUTION
PROGRAM, AND ASSIST YOU IF YOU WANT TO ENROLL IN THE PROGRAM AT THE END OF THIS
PRESENTATION. BEFORE WE BEGIN, PLEASE UNDERSTAND THAT | AM NOT AN ATTORNEY, AND AS SUCH,
i AM NOT QUALIFIED TO PROVIDE LEGAL ADVICE TO YOU, OR TO ANSWER ANY LEGAL QUESTIONS
OUTSIDE THE SCOPE OF THE PRESENTATION | AM ABOUT TO DELIVER.

IF YOU CHOOSE TO SIGN AND SUBMIT ENROLLMENT DOCUMENTS TODAY, A WHITESTONE ATTORNEY,
LICENSED TO PRACTICE IN YOUR STATE, WILL REVIEW YOUR FILE AND CONTACT YOU BY TELEPHONE
WITHIN THE NEXT FEW DAYS. IT IS IMPERATIVE THAT YOU MAKE YOURSELF AVAILABLE TO SPEAK WITH
THE ATTORNEY, EVEN IF YOU DO NOT HAVE ANY LINGERING QUESTIONS OR CONCERNS AFTER THIS
PRESENTATION, AS THE ATTORNEY MAY HAVE IMPORTANT INFORMATION AND ADVICE FOR YOU.
WHITESTONE POLICIES REQUIRE THAT THIS CONVERSATION TAKE PLACE BEFORE YOU CAN AGREE TO THE
FIRM’S REPRESENTATION OR MAKE ANY PAYMENTS, SO IT IS VERY IMPORTANT, AND WHITESTONE
THANKS YOU tN ADVANCE FOR YOUR COOPERATION.

{TURN TO SLIDE 3]

DEBT RESOLUTION IS A PROGRAM DESIGNED TO PAY OFF YOUR DEBTS THROUGH A NEGOTIATION
STRATEGY. WHITESTONE NEGOTIATES WITH YOUR CREDITORS ON YOUR BEHALF TO PAY BACK, IN A
LUMP SUM OR TERM PAYMENTS, LESS THAN THE AMOUNT OWED ON YOUR ACCOUNTS. YOUR
INVOLVEMENT IN THESE NEGOTIATIONS AND CONVERSATIONS MAY BE NECESSARY AND IMPORTANT.

As your attorneys, it’s Whitestone’s job to notify your creditors that you seek to negotiate a reduction of
your debt, instead of filing for bankruptcy. To do this, you must reduce the payments you are making to
your creditors or stop paying them completely. This will allow you to save sufficient funds, which
Whitestone will use to negotiate your debts.

(TURN TO SLIDE 4]
THE DEBT RESOLUTION PROCESS, WHAT WHITESTONE DOES AND WHAT IT NEEDS FROM YOU

Upon signing your enrollment paperwork today you will reduce or stop making payments on your
accounts in the program. Whitestone will then use the money you save in your Special Purpose Savings
Account to reach settlements with your creditors. Make sure you forward any communications from your
creditors to Whitestone. In addition, Whitestone sets its clients up with a Google voice phone number to
further deter any communication from your creditors.

[TURN TO SLIDE 5]

WHITESTONE NOTIFIES YOUR CREDITORS
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While Whitestone is representing you, based on its prior experience with your creditors, its personnel will
notify some or all your creditors that you are represented by an attorney and they should stop any
communication with you regarding your debts. If Whitestone has made the determination that sending LORs
{Letters of Representation} to certain creditors will make them more aggressive, strategically, Whitestone
does not send LORs to them.

[TURN TO SLIDE 6}
SPECIAL PURPOSE SAVINGS ACCOUNT

After signing your enrollment paperwork to retain Whitestone, you will be savings money in a Special
Purpose Savings Account. As you save sufficient funds, Whitestone representatives will begin working to
resolve your debts through its negotiation process. The Special Purpose Savings Account is an FDIC
insured account separate from your checking account. Funds are drawn monthly from your checking
account, in accordance with an agreed payment plan. It is a transparent online banking system and is
strictly under your control.

The funds in your Special Purpose Savings Account belong to you, and you may withdraw any funds that
have not previously been earned by Whitestone at any time.

{TURN TO SLIDE 7]
YOUR DEBT RESOLUTION STRATEGY AND HOW DEBTS ARE NEGOTIATED WITH YOUR CREDITORS

You hired Whitestone to get your debts resolved as quickly and for as little money as possible. Whitestone’s
strategy is based on saving funds in your Special Purpose Savings Account, which is why sticking to your
payment plan is so important. As the funds build in your account, Whitestone will contact your creditors to
attempt to negotiate settlements on your behalf. When Whitestone reaches an agreement with one of your
creditors to resolve a debt, the local attorney will review and approve the settlement before it is
submitted for your approval. Whitestone personnel will then present you with the details of the debt
resolution offer in writing and either the attorney or the negotiator will contact you to confirm your
authorization of the settlement and how you wish to proceed. If you approve, then you will provide your
written or verbally recorded approval of the offer and also authorize the funds that will be sent to your
creditor. This process is repeated until all your debts are negotiated and resolved with your creditors.

It is important to understand that Whitestone cannot force a creditor to negotiate your debt. Although
Whitestone will not accept a debt into the program from creditors it knows will not negotiate debts, there
are times when a creditor that has negotiated with Whitestone in the past will refuse to negotiate a debt.
In such instances, the Whitestone attorneys or negotiators may require your assistance in participating in
the negotiation process. Whitestone personnel will provide you with the information you will need in
order to contact your creditor directly in an effort to reach a satisfactory settlement. If Whitestone cannot
successfully negotiate a debt for you, even with your assistance, it will refund to you the portion of your
fees associated with that debt.
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[TURN TO SLIDE 8]
WHITESTONE SUPPORTS YOU THROUGHOUT THE PROGRAM

The law firm is prepared to do what is necessary to represent you and, if appropriate, defend you against
creditor or collector lawsuits. This may include work done on your behalf in or out of court. A local
attorney in the state where the complaint was filed will represent you asserting any reasonable defenses
to the suit, or any other viable means of resolving the suit. This may include negotiations with the
creditors’ attorney, preparation of responsive documents and/or appearances at court hearings on your
behalf. Although the legal fees for your defense are covered by your retainer payments, you would have
to pay a $350 fee for trial costs if the action were to go to trial.

[TURN TO SLIDE 9]
IF CIRCUMSTANCES CHANGE, CONTACT WHITESTONE IMMEDIATELY TO DISCUSS ALL OF YOUR OPTIONS

If at any time your circumstances change and you have more funds available to resolve your debt or you
experience an increased hardship, such as loss your job, please contact the client services team. If you
have experienced increased hardships, Whitestone will discuss options with you, including the possibility
of Whitestone representing you in bankruptcy under a separate agreement and fee structure.

[TURN TO SLIDE 10]
WHAT YOU NEED TO KNOW

You may experience an increase in collection activity, including calls or letters from creditors or collectors.
As mentioned on slide 4, Whitestone has measures in place to deter these calls (i.e. Google Voice and
LOR’s).

WHITESTONE CANNOT STOP INTEREST, LATE FEES, OR PENALTIES, BUT WILL REDUCTION OF THESE
EXPENSES IS TYPICALLY INCLUDED IN ANY SETTLEMENT NEGOTIATED ON YOUR BEHALF.

WHITESTONE DOES NOT PROVIDE ANY TAX ADVICE AND ANY REDUCTIONS IN DEBT MAY BE TAXABLE BY
THE IRS

YOUR CREDIT SCORE WILL LIKELY BE NEGATIVELY IMPACTED WHILE YOU ARE IN THE PROGRAM

IN APPROPRIATE CASES, WHITESTONE ATTORNEYS CAN SEEK DAMAGES FOR YOU AS A RESULT OF
ABUSIVE COLLECTION PRACTICES

WHITESTONE ALSO CANNOT PREVENT CREDITORS OR COLLECTORS FROM FILING A LAWSUIT AGAINST
YOU ARISING FROM YOUR DEBTS. HOWEVER, IF YOU ARE SUED, WHITESTONE ATTORNEYS WILL
REPRESENT YOU IN COURT AND ASSERT ANY VALID DEFENSES ON YOUR BEHALF AS PROVIDED BY THE
TERMS OF THE RETAINER AGREEMENT.

WHITESTONE DOES NOT CONTACT CREDIT BUREAUS OR TAKE ANY OTHER STEPS TO CLEAN UP OR REPAIR
YOUR CREDIT

IT TYPICALLY TAKES WHITESTONE 7 TO 9 MONTHS TO REACH THE FIRST SETTLEMENT.
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[TURN TO SLIDE 11]
ONCE YOU BECOME WHITESTONE’S CLIENT
WHITESTONE IS AVAILABLE FOR QUESTIONS AND SUPPORT THROUGHOUT THE PROGRAM

Whitestone attorneys and the client services team are available to answer any questions and help you
throughout the debt resolution process. It is important to understand that only a Whitestone attorney
can provide you with any legal advice or respond to any legal questions you may have. The client services
team will assist you in arranging to speak with an attorney to address such issues.

PLEASE MAKE SURE YOU ARE AVAILABLE TO SPEAK WITH WHITESTONE’S ATTORNEYS AND SUPPORT
TEAM REGARDING YOUR PROGRAM WHEN THEY CALL

Within a week of your enrollment with Whitestone, a Whitestone attorney, licensed to practice in your
state, will reach out to confirm program details and review key aspects of your representation. The
attorney will be able to answer any legal questions you may have during this presentation. Please
remember that you must speak with your local attorney before you can be represented by the firm, so
the attorney will continue to try and contact you until a conversation takes place.

The client support team will also reach out to you by phone to confirm your personal information and to
answer any questions you have about the program. Your welcome package will be mailed to you within
one week of Whitestone receiving a copy of your executed agreement. A copy of your executed
agreement will be e-mailed to you within twenty-four hours of enrollment.

Included in your welcome package will be some important documents such as creditor logs, information
on the laws that protect you from collection agencies as well as what to do if you need help from
Whitestone’s Litigation Department.

The client support team is always ready to assist you with any non-legal questions you have throughout
your program. This is often the quickest way to get your questions answered, particularly when the
question does not require legal advice. However, you are always welcome and encouraged to contact
your local attorney directly, or ask the client services team to facilitate a conversation between you and
the attorney.

[TURN TO SLIDE 12]
THE LETTER OF ENGAGEMENT

The Letter of Engagement and documents referenced in the Letter of Engagement (“LOE” in your slides)
contain all of the terms of your relationship with Whitestone, including all services Whitestone provides
to you, your agreed payments for those services, and all the responsibilities you and Whitestone have to
each other throughout your program.

The Letter of Engagement is an agreement between you and Whitestone that forms and describes an
Attorney-Client relationship, which secures Whitestone’s representation of you with respect to specific
creditors regarding specific debts.
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The Attorney-Client relationship is governed by the terms of the LOE, and is officially created only after
ALL THREE of the following events have occurred;

1) You, the Client, and an authorized representative of Whitestone have both signed the Letter of
Engagement,

2) A Whitestone attorney, licensed in your state, has reviewed and approved your file and has had a
telephone conversation with you, or has met with you in person, AND

3) You have made your first payment to Whitestone.

The Letter of Engagement lists and explains Whitestone’s services, which will be provided by professionals
including attorneys, paralegals, negotiators, assistants, and other personnel. Services performed by non-
attorney personnel will be directly authorized and supervised by Whitestone attorneys.

[Please turn to slide 13]
THE LETTER OF ENGAGEMENT (CONTINUED)

The Letter of Engagement contains a section covering the fees and costs you agree to pay to Whitestone
for its services. The specific timing and amounts of your fees will be detailed in the Letter of Engagement,
and are broken down into three distinct types of fees;

1) Retainer Fee — This is a flat $995.00 fee that compensates Whitestone for many of the legal services it
provides to you during the planning, formation and initial implementation of Whitestone’s strategy for
resolution of your debts.

2) Monthly Administrative Fees — These fees compensate Whitestone for legal services performed
through the program to continually review, analyze, structure, and supervise the representation.

3) Service Cost - The Service Cost pays for non-legal work involved in the implementation, management,
and maintenance of your representation. The Service Cost is a percentage of the total amount of debt
you enroll in the program, and is paid in equal monthly installments specified in the Letter of Engagement.

The Arbitration of Disputes and Waiver of Class Action Rights section of the LOE governs how any potential
disputes that could arise between you and Whitestone would be resolved.

[Please turn to slide 14]
ADDITIONAL DOCUMENTS AFFECTING THE LETTER OF ENGAGEMENT

Notice of Right to Cancel — This is a form that you may fill out, sign, and send to Whitestone to revoke this
agreement within 5 days of its execution.

Authorization to Settle — This form explains circumstances under which Whitestone may settle your
enrolled debt(s) without your specific authorization to the terms of each particular settlement.

Power of Attorney — This form authorizes Whitestone to represent you to your creditors, and is required
by most creditors before any discussion of your personal information could take place. This form must be
signed by all co-clients, and should be notarized either at this meeting or as soon as possible after.
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Bankruptcy vs Debt Negotiation and Election of Services — It is important that you understand the benefits
and risks involved with the debt negotiation process. Along with the disclosures and disclaimers in the
LOE, this form provides vital knowledge for anyone entering into a debt restructure plan, and must be
signed before representation can take place.

Credit Union Disclaimer — Whitestone sometimes faces added challenges in the negotiation of Credit
Union debts, and this form explains the how enrolling such debts may alter the performance standards
Whitestone otherwise provides to you in the LOE.

[Please turn to slide 15]
DOCUMENTS TO BE SIGNED TODAY
The documents requiring your signature today, which we just discussed, are:

Letter of Engagement — This is your contract with Whitestone, which outlines the terms and conditions of
the representation.

Payment Schedule — Outlines all payments of fees and savings funds.
Power of Attorney — Permits Whitestone to act on your behalf to negotiate with your creditors.

Compliance Affidavit — Acknowledges Whitestone’s legal staff’s compliance with all Federal and State
regulations.

In-Person Client Presentation — Your acknowledgement that you have received this presentation in
person,

Banking Platform Document — Provides your consent to establish and authorize electronic payments to a
Special Purpose Savings Account through Global Client Solutions (GCS).

[Please turn to Slide 16]

SPECIAL PURPOSE SAVINGS ACCOUNT AND FINANCIAL INFORMATION

You will pay Whitestone’s fees and fund settlements through a Special Purpose Savings Account, provided
and maintained by (GCS). GCS will draw funds directly from your checking account, into the Special
Purpose Savings Account, as agreed in the Electronic Payment Authorization form.

The funds in this account will remain under your control, and you will be able to access the account directly
with the use of a Passcode / Password. You can withdraw any funds that have not been earned by
Whitestone or are not subject to an executed settlement with your creditors at any time and you will
receive the funds within seven (7) business days of your request.

This is a non-interest bearing account, and is only used to pay fees to Whitestone and fund settlements
that Whitestone negotiates and pays on your behalf.

[Please turn to Slide 17]

Funds in your GCS account are FDIC insured. The amount of FDIC coverage may increase or decrease
subject to changes in FDIC policy from time to time.
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Fees associated with this account, as well as all other terms and conditions affecting your interactions
with GCS are covered in your Account Servicing Agreement. Monthly fees include $10.95 / month for
maintenance of the account, as well as other fees from time to time as listed in the Agreement. Please
review the Account Servicing Agreement now, and initial once you have finished reviewing and
understand its terms.

Now that you have read and understand your Account Servicing Agreement, if you would like to
proceed, | can take your financial information to assist you in completing the application.
